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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division



 DEVIN G. NUNES,

                      Plaintiff,

        v.                                         Civil No.: 3:19-CV-00889

 CABLE NEWS NETWORK, INC.,

                      Defendant.


                                   [PROPOSED] ORDER

       AND NOW, this ____ day of ________, upon consideration of the Motion to Transfer filed

by Defendant Cable News Network, Inc., and the briefing submitted by the parties, it is hereby

ORDERED that:

   1. The motion is GRANTED.

   2. This case is TRANSFERRED to the Southern District of New York.



       IT IS SO ORDERED.



Entered this ___ day of ________, 2020.



                                                         __________________________

                                                         Hon. Robert E. Payne
                                                         United States District Court Judge
